            Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 1 of 24




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 HIV AND HEPATITIS POLICY
 INSTITUTE
 1602 Belmont Street NW, Unit B
 Washington, D.C. 20009,

 DIABETES PATIENT ADVOCACY
 COALITION                                             No. 1:22-cv-2604
 229 Tahoma Road
 Lexington, KY 40503,

 and

 DIABETES LEADERSHIP COUNCIL
 229 Tahoma Road
 Lexington, KY 40503,

                              Plaintiffs,

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES;
 CENTERS FOR MEDICARE AND
 MEDICAID SERVICES; XAVIER
 BECERRA, in his official capacity as
 Secretary of HHS,

 and

 CHIQUITA BROOKS-LASURE, in her
 official capacity as Administrator of CMS,

                           Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
       1.       Pharmaceutical innovations have transformed our lives. Groundbreaking

pharmaceuticals can enable a person with HIV and hepatitis B to live a normal lifespan; there are

now drugs that prevent new HIV infections; and individuals infected with hepatitis C can be cured

in a matter of weeks. New therapies in diabetes management that provide significant protection


                                               1
            Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 2 of 24




against heart and kidney failure, two of the most common and devastating complications of the

disease, are now available to patients. Certain medications have proven remarkably successful in

treating—and, in some cases, curing—various forms of cancer. Other new therapeutics are vastly

improving outcomes for patients with heart disease and other chronic conditions. In all, hundreds

of innovative drugs now enable millions of Americans to lead healthier, better, and—ultimately—

longer lives.

       2.       But patients in need, even when they have insurance coverage, frequently struggle

to access these lifesaving and life-enhancing drugs, in large part due to insurance benefit design:

Ever-increasing deductibles and co-insurance requirements, among other provisions, leave

individuals and families facing higher and higher bills for drugs.

       3.       In light of escalating healthcare prices and the unavailability of quality, affordable

healthcare to millions of Americans, in 2010 Congress enacted the Patient Protection and

Affordable Care Act (ACA). In creating an individual insurance market, the ACA sought to ensure

that premiums were affordable to everyday Americans. It also aimed to curtail the maximum out-

of-pocket expenditures that would attach to those plans regulated by the ACA. Yet these sums

remain high. In 2022, for example, the out-of-pocket maximum for an individual is $8,700 for an

individual and $17,400 for a family.
       4.       Even with the ACA’s limits, millions of American families simply cannot afford

these out-of-pocket maximums. One recent study explained that “[a]bout half of households could

not afford a typical employer plan deductible and almost two in three households do not have

enough resources to cover a higher-end deductible of private health plans.” Gregory Young, et al.,

Peterson-KFF Health System Tracker (Mar. 10, 2022), https://perma.cc/BP27-EC4Z. That is,

“about a third (32%) of single-person households with private insurance in 2019 could not pay a

$2,000 bill, and half (51%) could not pay a $6,000 bill.” Id. Though many private health plans set

the out-of-pocket maximum lower than the ACA’s upper boundary—the study suggests that the

average is $4,272 for a single person—“[m]ost households do not have enough liquid assets to

meet the typical out-of-pocket maximum.” Id.


                                                  2
              Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 3 of 24




         5.       Due to prevailing insurance benefit design, including high deductibles and the use

of co-insurance, many drugs come with patient costs that easily reach the annual maximum,

frequently in the first few months of the plan year.

         6.       This sets up an impossible circumstance for many Americans with urgent medical

needs. When their doctors prescribe the most effective medications to treat their conditions, many

patients simply cannot afford the copays. In a recent survey of patients with chronic conditions

and their caregivers, for example, a full 46% of respondents reported that they or someone in their

household has been unable to afford their out-of-pocket costs (copays and/or coinsurance) in the

last year. 1
         7.       Patients in these circumstances are faced with limited choices. Many go into debt

to acquire medications, but this is generally not a sustainable path. Some patients will seek

assistance to help pay for their necessary drugs—including charity from family, friends, churches,

and nonprofits. Yet too many others will go without the innovative therapies that could improve

and extend their lives.

         8.       Recognizing these dire circumstances, many drug manufacturers have created

programs to offer assistance to patients in need. Many drug innovators provide direct financial

assistance to patients. This assistance is known variously as copay assistance programs, copay

coupons, and copay cards. These programs enable millions of Americans to afford the copays and

deductibles for their physician-prescribed—and often critically important—medications.

         9.       Insurance companies, however, have resisted these programs. Many insurers now

attempt to forbid a patient from counting assistance provided by a manufacturer as part of his or

her co-payment obligation. If patients can find assistance funds to pay for their medications,

insurers often recover far more money—collecting both from the patient as well as from the copay

assistance provided by the manufacturer, often until the patient exhausts any available copay

1
    National Hemophilia Foundation, Press Release: National Patient & Caregiver Survey Shows
that COVID-19 Has Exacerbated Treatment Affordability Challenges & Health Inequities for
Vulnerable Americans (May 19, 2021), https://perma.cc/YZK4-XSJ8.


                                                  3
          Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 4 of 24




assistance program benefits. Patients are thus left where they started—financially unable to obtain

medically necessary treatments. And if patients cannot pay, they may take less effective treatments

or entirely forego the prescribed therapy.

       10.     Under these schemes, generally called copay accumulator adjustment programs, a

patient who pays, for example, the $250 copay for a month’s supply of medication using a $250

manufacturer copay card is no closer to reaching her deductible than she was before making the

payment. Although the patient has held up her end of the bargain by obtaining funds to satisfy her

copay obligation, the insurer is permitted to disregard that payment, leaving full benefits just as

far out of reach as before. Unsurprisingly, copay accumulator adjustment programs can thus be

expected to result in increased out-of-pocket costs to needy patients, decreased adherence to now-

unaffordable prescription drug regimens, and greater systemic costs to the healthcare system and

to the Nation’s health. 2 At worst, these programs create a two-tiered system of healthcare, where
needy Americans are simply foreclosed from accessing the most promising therapeutics, thus

undercutting the basic tenets of the Affordable Care Act.

       11.     In fact, co-pay accumulator programs affirmatively harm patient health. As one

recent study found, patients subjected to a copay accumulator program fill their prescriptions—

again, prescriptions that are frequently for life-saving medications—1.5 times less than patients in

2
     Non-adherence to prescription medications—for which cost is perhaps the largest driving
factor—“is estimated to cause approximately 125,000 deaths and at least 10 percent of
hospitalizations, and to cost the American health care system between $100 billion and $289
billion a year. Jane E. Brody, The Cost of Not Taking Your Medicine, New York Times (Apr. 17,
2017), https://perma.cc/SLZ2-77RN. For example, one study estimates that up to 69% of patients
will abandon medications if cost sharing exceeds $250. See Katie Devane, Katie Harris, & Kevin
Kelly, Patient Affordability Part Two: Implications for Patient Behavior & Therapy Consumption,
IQVIA (May 18, 2018) (explaining that “69% of commercial patients did not start therapy when
faced      with      out-of-pocket     costs     exceeding       $250”)     (downloadable      at
https://www.iqvia.com/locations/united-states/library/case-studies/patient-affordability-part-
two). Another recent study found that 44% of commercially insured cancer patients abandoned
their medications when the out-of-pocket costs reached $500; for those whose out-of-pocket costs
exceeded $2000, the abandonment rate was 67%. Jalpa A. Doshi et al., Association of Patient Out-
of-Pocket Costs With Prescription Abandonment and Delay in Fills of Novel Oral Anticancer
Agents, 36 J. Clinical Oncology 476, 481 tbl. 3 (2018), https://perma.cc/5XKQ-WM25.


                                                 4
            Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 5 of 24




high deductible health plans. 3 The injuries caused by copay accumulator programs are real and

concrete.

       12.      Regrettably, the federal agencies charged with implementing the ACA have

endorsed the efforts of large insurers and pharmacy benefit managers to impede access to

innovative medicine by denying patients the benefit of contributions provided by drug

manufacturers when calculating patient payment obligations. In particular, the U.S. Department of

Health and Human Services (HHS), along with its component agency the Centers for Medicare

and Medicaid Services (CMS), issued a rule in 2020 expressly permitting insurance companies

and pharmacy benefit managers to utilize copay accumulators across the board. See Patient

Protection and Affordable Care Act; HHS Notice of Benefit and Payment Parameters for 2021;

Notice Requirement for Non-Federal Governmental Plans, 85 Fed. Reg. 29,163 (May 14, 2020)

(the 2021 NBPP). The federal agencies responsible for regulating health insurers thus sided

explicitly with insurance companies and pharmaceutical benefit managers, allowing them to

disregard any such manufacturer assistance when calculating whether a patient has met his or her

deductible or out-of-pocket maximum.

       13.      Since promulgation of the 2021 NBPP, insurance companies and pharmaceutical

benefit managers have enhanced their use of copay accumulator adjustment programs, to the

detriment of patients across the country.

       14.      But the 2021 NBPP is plainly unlawful. The agencies’ approval of copay

accumulator programs conflicts with the plain language of the Affordable Care Act that it purports

to implement; it is irreparably inconsistent with the agencies’ existing regulations; and it is

arbitrary and capricious for a whole host of reasons. The Court should set it aside.




3
    Steve Mink, Driving Persistence among Patients Affected by Copay Accumulators with
Patient-Centric Support, American Journal of Managed Care (Oct 18, 2020),
https://perma.cc/T42V-YFMJ.


                                                 5
            Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 6 of 24



                                            PARTIES
       15.      The HIV and Hepatitis Policy Institute is a leading national policy and advocacy

organization working to promote quality and affordable healthcare for people living with or at risk

of HIV, hepatitis, and other serious and chronic health conditions. Those patient populations are

often reliant on expensive specialty drugs, and the Institute therefore has a distinct interest in

ensuring that the Affordable Care Act’s provision for an annual limit on cost-sharing is fully

implemented and not violated by HHS and CMS regulations. The Institute is a 501(c)(3) tax-

exempt nonprofit headquartered in Washington, D.C.

       16.      The Diabetes Patient Advocacy Coalition (DPAC) is an alliance of people with

diabetes, caregivers, patient advocates, health professionals, diabetes organizations and companies

working collaboratively to promote and support public policy initiatives to improve the health of

all 37 million Americans with diabetes. Its members include patients with diabetes who utilize

manufacturer assistance and are harmed by copay accumulator programs.

       17.      The Diabetes Leadership Council (DLC) unites former leaders of national diabetes

organizations, dedicated to securing effective, affordable health care and a discrimination-free

environment for every person with diabetes. DLC is comprised of people with diabetes, parents of

children with diabetes, allies and tireless volunteers dedicated to improving the lives of all people

impacted by diabetes.
       18.      Defendant United States Department of Health and Human Services (HHS) is the

federal agency charged with enhancing the health of all Americans by providing for effective

health and human services, and co-signed the 2020 Rule challenged here. HHS is headquartered

in Washington, D.C.

       19.      Defendant Xavier Becerra is the Secretary of HHS. He is sued in his official

capacity.

       20.      Defendant Centers for Medicare and Medicaid Services (CMS) is a component of

HHS; the agency co-signed the 2020 Rule challenged here along with HHS. CMS is headquartered

in Baltimore, Maryland.



                                                 6
          Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 7 of 24




        21.      Defendant Chiquita Brooks-LaSure is the Administrator of CMS. She is sued in her

official capacity.

                                  JURISDICTION AND VENUE
        22.      Plaintiffs bring this suit under the Administrative Procedure Act, 5 U.S.C. §§ 551

et seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and this Court’s inherent equitable

powers.

        23.      The court’s jurisdiction over is invoked under 28 U.S.C. § 1331, as this case arises

under the laws of the United States.

        24.      Venue is proper in this district under 28 U.S.C. § 1391(e) because Defendant HHS

resides in this district. Venue is also proper under 28 U.S.C. § 1391(e) because Plaintiff HIV and

Hepatitis Policy Institute resides in this district, and no real property is involved in this action.

                                   FACTUAL ALLEGATIONS

        A.       Manufacturer copay assistance and the Affordable Care Act’s cost-sharing
                 cap.
        25.      Among its patient-benefitting provisions, the Affordable Care Act mandates that

“cost-sharing”—that is, the portion of an insured patient’s annual healthcare costs for which the

patient himself is responsible—“shall not exceed” the result of a statutory formula. 42 U.S.C.

§ 18022(c)(1).
        26.      In turn, the statute defines “cost-sharing” as follows: “The term ‘cost-sharing’

includes—(i) deductibles, coinsurance, copayments, or similar charges; and (ii) any other

expenditure required of an insured individual which is a qualified medical expense . . . with respect

to essential health benefits covered under the plan.” 42 U.S.C. § 18022(c)(3).

        27.      The statute thus sets an annual cap on the “expenditure[s] required of an insured

individual” by that person’s health insurance plan. 42 U.S.C. § 18022(c)(3).




                                                   7
          Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 8 of 24




       28.     Meanwhile, insurers have increasingly erected barriers, in the form of increased

deductibles and co-insurance requirements 4—that shift the cost of drugs from the insurer to the

patient. For example, the median deductible for an individual-market silver plan—the most

popular level of plan—has increased by 23% between 2018 and 2022, from $3,939 to $5,155. 5

       29.     Insurers also frequently divide their drug formularies into tiers, with specialty drugs

(that is, the drugs commonly required for chronic conditions like HIV and hepatitis) placed into

higher tiers, with correspondingly high cost-sharing imposed on patients. Indeed, as many as 81%

of silver plans require co-insurance for specialty drugs, and the median coinsurance amount is

40%—meaning that these plans require their enrollees to pay 40% of the list price of the drug out

of pocket, even after their deductible is met. 6 That can easily translate to thousands of dollars of
out-of-pocket costs per month—a burden that many patients simply cannot afford.

       30.     For this reason, many drug manufacturers have begun to provide copay assistance

to patients. In one common setup, the drug manufacturer issues a coupon to an insured individual

to present at the pharmacy; when he or she does so, the pharmacy will bill all or most of the

individual’s copayment or coinsurance—which he or she would otherwise have to pay to the

pharmacy directly—to the drug manufacturer. In essence, the drug manufacturer assists the patient

in meeting their cost-sharing obligations by supplying the money that the insured individual would

otherwise need to pay directly in order to receive his or her medication.

       31.     Manufacturer copay assistance thus lessens the financial burdens of drug costs on

needy patients and their families, particularly those with chronic conditions, like HIV and hepatitis,

4
    As opposed to a copayment—which is a flat, usually low fee that an insurer may require of a
patient when he or she picks up a prescription—a co-insurance payment represents a percentage
of the cost of the drug (often as high as 50%). Thus, when a drug is expensive, the difference
between a flat copayment and a percentage-based co-insurance payment may be enormous.
5
    Dep’t of Health & Human Servs., Plan Year 2022 Qualified Health Plan Choice and Premiums
in Healthcare.gov States at 10 (Oct. 25, 2021), https://perma.cc/VU8L-2XFX.
6
   See AIDS Institute, Discriminatory Copay Policies Undermine Coverage for People with
Chronic Illnesses, at 10 (Jan. 2022), https://perma.cc/ZU8T-N7SF.


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             Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 9 of 24




that require expensive specialty medications. Indeed, millions of Americans currently rely on

copay assistance to afford their critical prescriptions. 7

        B.       Copay accumulator programs.
        32.      While these forms of copay assistance help make innovative drugs affordable to

everyday Americans, insurance companies seek to recognize a windfall, accepting copay

assistance funds as a benefit to the insurer without crediting it to the patients’ out-of-pocket

obligations. These programs thus force patients to pay out of pocket regardless of copay assistance

provided by manufacturers.

        33.      In response to copay programs offered by manufacturers, insurers have developed

schemes known as copay accumulator adjustment programs. Under a copay accumulator program,

the insurer simply does not count any manufacturer-provided copay assistance against an insured

individual’s deductible or out-of-pocket maximum in the insurer’s internal accounting systems.

Thus, when a patient presents a copay card at a pharmacy—meaning that a patient is obtaining

assistance from a manufacturer to pay for the patient’s cost-sharing obligation for the dispensed

drugs—the insurance plan accepts the payment but the assistance amount of that payment is not

counted toward the patient’s deductible or maximum out-of-pocket-costs. This provides a windfall

to the insurer, allowing the insurer to collect full deductible and copayment amounts from each

patient for each prescription fill, but then disregard any portion of those payments that came from

manufacturer assistance on future prescription fills. This allows the insurance company to collect

far in excess of the statutory cost-sharing obligation that would apply if the patient obtained

assistance from another source.

        34.      These accumulator programs also mean that the patient is no closer to reaching his

or her deductible. Reaching that deductible is important because it would allow the patient to obtain


7
    According to IQVIA data, 14% of commercially insured patients taking branded medications
used copay assistance to reduce their out-of-pocket costs in 2020. IQVIA Institute for Human Data
Science, The Use of Medicines in the U.S.: Spending and Data Trends and Outlook to 2025 46
(May 2021), https://perma.cc/3CCS-2EVD.


                                                   9
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 10 of 24




more affordable drugs for the rest of the year. The accumulator programs thus deny patients the

benefit of satisfying the deductible amount.

       35.     Consider the following example: 8




As this example illustrates, the end result of a copay accumulator program is two-fold: The patient

is required to pay significantly more money to obtain his or her drugs, and that money goes directly

into the insurer’s pocket.

       36.     While insurers may assert that this encourages use of less expensive generics, some

experts estimate that as many as “87% of medications for which co-pay assistance is available

8
    Discriminatory Copay Policies, supra note 6, at 7.


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         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 11 of 24




have no generic substitute.” 9 To receive the medication that the provider prescribes, many patients

must first go through cumbersome prior authorizations and step therapy processes, in which

insurers attempt to push patients toward alternative drugs, even if it is not the best clinical option.

Copay accumulators, accordingly, simply penalize needy patients without any prospect of

incentivizing more economically efficient care decisions.

        37.    Copay accumulator programs are also harmful to patients in additional ways. For

one thing, insurance plan documents often lack transparency about whether the plan will include

a copay accumulator—meaning that patients will be surprised by unexpected prescription-drug

bills that they thought they had already paid through copay assistance. And when a prescription

drug expense is unexpected, it can lead to prescription abandonment even in cases where the

patient could have afforded the drug, if he or she had notice and time to prepare for the expense.

        38.    These “copay accumulator adjustment policies”—which “contribute to insurance

company profit while shifting the cost of expensive prescription drugs back to the patients who

most rely on them”—“have become more common in recent years.” 10
        39.    Insurers and pharmacy benefit managers also have instituted other schemes that

result in more flagrant violations of the ACA cost-sharing limits, for example using so-called

copay maximizers. Under these programs, the amount of patient cost-sharing is set at a uniquely

high amount, designed to result in the patient needing to access the full limits of the manufacturer

assistance program. Although the copay assistance still does not count towards the beneficiary’s

cost-sharing obligation, the insurer nonetheless continues to collect that amount each month from

the drug manufacturer resulting in insurers collecting payments far exceeding the out-of-pocket

maximum. 11

9
   Terry Wilcox & Stacey Worthy, How a Quiet Co-Pay Rule Change Could Mean Massive Drug
Cost Increases, Fortune (July 22, 2020) (emphasis added), https://perma.cc/Y97B-5F5T.
10
     The AIDS Institute, Double Dipping (March 2021), at 3, https://perma.cc/QAA2-7MXC.
11
   See Drug Channels, Copay Maximizers Are Displacing Accumulators—But CMS Ignores How
Payers Leverage Patient Support (May 19, 2020), https://perma.cc/AT8B-DKKA.


                                                  11
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 12 of 24




       C.      The agencies permit insurers to exclude manufacturer assistance from
               patient cost-sharing calculations where a generic alternative is available.
       40.     In 2019, HHS and CMS—the federal agencies responsible for implementing the

Affordable Care Act—issued a rule entitled Patient Protection and Affordable Care Act; HHS

Notice of Benefit and Payment Parameters for 2020, 84 Fed. Reg. 17,454 (Apr. 25, 2019) (the

2020 NBPP). In that rule, the agencies expressly permitted the use of copay accumulator programs

insurers—but only with respect to drugs for which a generic alternative was available and

medically appropriate. Id. at 17,544-17-545; see 45 C.F.R. § 156.130(h)(1) (version effective from

June 24, 2019 to July 12, 2020) (providing that “amounts paid toward cost sharing using any form

of direct support offered by drug manufacturers to enrollees to reduce or eliminate immediate out-

of-pocket costs for specific prescription brand drugs that have an available and medically

appropriate generic equivalent are not required to be counted toward the annual limitation on cost

sharing”) (emphasis added).

       41.     As the 2020 NBPP explained, the agencies “recognize[d] that copayment support

may help beneficiaries by encouraging adherence to existing medication regimens, particularly

when copayments may be unaffordable to many patients.” 2020 NBPP, 84 Fed. Reg. at 17,544.

But the agencies took the view that “the availability of a coupon may cause physicians and

beneficiaries to choose an expensive brand-name drug when a less expensive and equally effective

generic or other alternative is available,” thus “distort[ing] the market and the true cost of drugs.”

Id. Critically, the agencies understood that the possibility of market distortion exists only “when a

less expensive and equally effective generic is available”: “Where there is no generic equivalent

available or medically appropriate, it is less likely that the manufacturer’s coupon would

disincentivize a lower cost alternative and thereby distort the market.” Id. at 17,545; see also id.

(“[W]hen an enrollee is determined . . . to require a brand drug because the generic or other

alternative may not be available or medically appropriate, the use of the manufacturer coupon

would not disincentivize a less expensive choice.”).




                                                 12
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 13 of 24




       42.     Thus, the 2020 NBPP explicitly rejected comments suggesting that copay

accumulators should be permitted regardless of generic availability, explaining that “[w]here there

is no generic equivalent available or medically appropriate . . . amounts paid toward cost sharing

using any form of direct support offered by drug manufacturers must be counted toward the annual

limitation on cost sharing.” 2020 NBPP, 84 Fed. Reg. at 17,545.

       D.      The agencies expand the exclusion, permitting insurers to ignore
               manufacturer assistance even where a generic alternative is not available.
       43.     Not even a year later, however, the agencies abruptly reversed course. First, HHS

issued a guidance document in August 2019 stating that, pending additional rulemaking, “the

Departments will not initiate an enforcement action if an issuer . . . excludes the value of drug

manufacturers’ coupons from the annual limitation on cost sharing, including in circumstances in

which there is no medically appropriate generic equivalent available,” purportedly on the basis of

a potential conflict with IRS guidance. U.S. Department of Health & Human Servs. et al., FAQs

About Affordable Care Act Implementation Part 40 (Aug. 26, 2019) (emphases added),

https://perma.cc/JC3X-RSEF.

       44.     Then, in the rule challenged here—Patient Protection and Affordable Care Act;

HHS Notice of Benefit and Payment Parameters for 2021; Notice Requirement for Non-Federal

Governmental Plans, 85 Fed. Reg. 29,164 (May 14, 2020) (the 2021 NBPP)—the agencies

expressly removed the limitation that copay accumulator programs are permitted only with respect

to branded prescriptions where a generic is available.

       45.     In the final rule, the agencies again emphasized that the underlying justification for

approving copay accumulator programs was a “concern that market distortion can exist when a

consumer selects a higher-cost brand name drug when an equally effective generic drug is

available.” 2021 NBPP, 85 Fed. Reg. at 29,231 (emphasis added). Yet the agencies went on to

expand the approval of copay accumulators to all situations, whether or not a generic is available,

apparently based solely on a legal concern that not allowing such programs would conflict with

provisions of the tax code and IRS guidance. Id. at 29,231, 29,233.


                                                13
          Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 14 of 24




        46.    Many advocacy groups, companies, and concerned citizens submitted comments

on the proposed rule, expressing grave doubts about the wisdom and legality of permitting copay

accumulator programs where no generic is available. For one thing, “numerous commentors”

explained “that the proposal is in direct opposition to the administration’s stated goals of reducing

drug prices for patients,” and that “patient costs would increase dramatically [under the 2021

NBPP], which could lead to greater non-adherence to medications and ultimately impact the life

and health of patients.” 2021 NBPP, 85 Fed. Reg. at 29,232. In response, the agency made a curious

contention:

        We appreciate commenters’ concerns that the proposal could raise out-of-pocket
        costs for consumers who use brand name drugs. However, we believe the impact
        of such costs may be limited if issuers that currently allow these amounts to be
        counted toward enrollees’ deductibles or their annual limitation on cost sharing
        continue their current behavior, which we believe will be the case.
Id. In other words, the agencies’ sole explanation for why their rule would not raise out-of-pocket

costs for patients was essentially that insurance companies would not change their behavior to take

advantage of the new rule’s legalization of copay accumulators. That is, the agencies predicted

that insurers would act against their economic interests.

        47.    In fact, the use of copay accumulators is growing in view of this regulatory change.

As one study found, “copay accumulator adjustment policies” have “grown in the wake of HHS’s

changing policy.” 12

        48.    The agencies had also proposed in the notice of proposed rulemaking “to interpret

the [statutory] definition of cost sharing to exclude expenditures covered by direct drug

manufacturer support.” 2021 NBPP, 85 Fed. Reg. at 29,230; see also Patient Protection and

Affordable Care Act; HHS Notice of Benefit and Payment Parameters for 2021; Notice

Requirement for Non-Federal Governmental Plans, 85 Fed. Reg. 7,088, 7,136 (Feb. 6, 2020)

(notice of proposed rulemaking, discussing proposed interpretation of the statutory definition).



12
     Double Dipping, supra note 10, at 18, https://perma.cc/QAA2-7MXC.


                                                 14
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 15 of 24




       49.     In the final rule, in response to the concerns of “[m]ultiple commenters” that this

proposed interpretation conflicted with the statute and the existing regulatory definition, the

agencies explicitly determined not to adopt the interpretation they had proposed: “After

consideration of comments, we are not finalizing the proposed interpretation to exclude

expenditures covered by drug manufacturer coupons and other drug manufacturer direct support

from the definition of cost sharing at 45 C.F.R. 155.20.” 2021 NBPP, 85 Fed. Reg. at 29,234.

       50.     Instead, the agencies did something very bizarre. After acknowledging both sides

of the interpretive question—that is, whether manufacturer copay assistance falls within the

statutory and regulatory definitions of “cost sharing,” meaning that those amounts must count

toward the annual limitation on patients’ out-of-pocket costs—the agencies announced that “[w]e

have . . . determined that the term ‘cost sharing’ is subject to interpretation regarding whether these

amounts fall under this definition.” 2021 NBPP, 85 Fed. Reg. at 29,234 (emphasis added). The

result, apparently, is that each individual insurer is free to choose whether the definition of cost-

sharing includes or excludes manufacturer copay assistance, for purposes of that insurer’s plans:

       For issuers who elect to include these amounts [that is, manufacturer copay
       assistance] towards a consumer’s annual limitation on cost sharing, the value of
       direct drug manufacturer support would be considered part of the overall charges
       incurred by the enrollee [and therefore within the cost-sharing definition]. For
       issuers who elect to not count these amounts towards the consumer’s annual
       limitation on cost sharing, the value of the direct drug manufacturer support would
       be considered a reduction in the amount that the enrollee incurs or is required to
       pay [and therefore outside the cost-sharing definition].

Id.
       51.     That is, the agencies’ ultimate conclusion appears to be that the identical legal text

(the statutory and regulatory definitions of cost sharing) will have a different meaning (either

including or excluding manufacturer copay assistance) depending on what each individual

regulated party wants the law to mean.




                                                  15
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 16 of 24




       52.     Perhaps unsurprisingly, the agencies supplied no legal authority for the proposition

that the same legal text can simultaneously mean two different things, never mind the further

proposition that a regulated party gets to choose what the law means as applied to itself.

       53.     In the end, the 2021 NBPP revised 45 C.F.R. § 156.130(h) to read as follows:

       Notwithstanding any other provision of this section, and to the extent consistent
       with State law, amounts paid toward reducing the cost sharing incurred by an
       enrollee using any form of direct support offered by drug manufacturers for specific
       prescription drugs may be, but are not required to be, counted toward the annual
       limitation on cost sharing, as defined in paragraph (a) of this section.

       E.      The 2021 NBPP is unlawful.
       54.     Insofar as it permits insurers to exclude manufacturer assistance from the definition

of cost-sharing, the agencies’ 2021 NBPP is contrary to statute, inconsistent with existing

regulations, and arbitrary and capricious for multiple independent reasons.

       55.     First, the 2021 NBPP is contrary to the statutory text of the ACA. The statute

defines “cost-sharing” to include “(i) deductibles, coinsurance, copayments, or similar charges;

and (ii) any other expenditure required of an insured individual which is a qualified medical

expense.” 42 U.S.C. § 18022(c)(3) (emphasis added). The text thus looks not to where the money

used for a copay originates, but simply whether the insurer “require[s]” the insured individual to

come up with the money somewhere before the insurer will pay for the remainder of the treatment.

That is, the copayments set out in a health insurance policy remain “required of” the beneficiary

even if the beneficiary seeks outside assistance in fulfilling that financial “require[ment]”: If the

beneficiary cannot produce the money—whether from her own bank account, from a family

member or a GoFundMe page, or from manufacturer copay assistance—the insurer will not cover

the remainder of the treatment.

       56.     Yet the 2021 NBPP expressly permits insurers to exclude payments from the annual

statutory cap on cost-sharing—notwithstanding that the insurer “requires [those payments] of” the

insured—just because the insured obtains assistance from the drug manufacturer in satisfying that

obligation. It must therefore be set aside as contrary to the statute. See, e.g., Decker v. Nw. Envtl.



                                                 16
            Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 17 of 24




Def. Ctr., 568 U.S. 597, 609 (2013) (“It is a basic tenet that ‘regulations, in order to be valid, must

be consistent with the statute under which they are promulgated.’”) (quoting United States v.

Larionoff, 431 U.S. 864, 873 (1977); Pub. Serv. Elec. & Gas. Co. v. FERC, 989 F.3d 10, 19 (D.C.

Cir. 2021) (“[A] regulation can never trump the plain meaning of a statute.”) (quotation marks

omitted).

       57.      Similarly, the statute serves to define the maximum amount of funds that an insurer

may receive as compensation beyond premiums for the provision of healthcare to patients. The

accumulator programs, however, unlawfully allow an insurer to collect more money than the ACA

cap authorizes. That is, payments are made both by the patient and other sources up to the ACA

out-of-pocket maximum and co-payment assistance is provided by the drug manufacturer. In all,

the insurer winds up with more payments received than the statute allows.

       58.      Second, the 2021 NBPP’s approval of copay accumulator programs conflicts even

more starkly with the definition of “cost sharing” in the agencies’ existing regulations. Those

regulations provide that “cost sharing means any expenditure required by or on behalf of an

enrollee with respect to essential health benefits; such term includes deductibles, coinsurance,

copayments, or similar charges.” 45 C.F.R. § 155.20 (emphasis added). If there were any doubt

that manufacturer copay assistance payments are “required of” the insured individual under the
statute (42 U.S.C. § 18022(c)(3)), that doubt would be resolved by the regulation: Copay assistance

payments form drug manufacturers are unassailably made “on behalf of” the patient beneficiary

(45 C.F.R. § 155.20).

       59.      Moreover, while agencies’ interpretation of their existing regulations may in some

circumstances be entitled to deference (cf. Kisor v. Wilkie, 139 S. Ct. 2400 (2019)), the agencies

here expressly declined to either amend or interpret the regulatory cost-sharing definition to

accommodate copay accumulator programs. See 2021 NBPP, 85 Fed. Reg. at 29,232 (“[W]e . . .

are not finalizing the proposed interpretation of the definition of cost sharing to exclude

expenditures covered by direct drug manufacturer support.”); id. at 29,234. The agencies’ approval

of copay accumulator programs thus cannot be supported on this basis.


                                                  17
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 18 of 24




        60.     The agencies—and the regulated industry of insurers—therefore remain bound by

the plain meaning of the definitional regulation, and their actions in contravention of that

regulation must be set aside. See, e.g., Nat’l Envt’l Dev. Ass’n’s Clean Air Project v. EPA, 752

F.3d 999, 1009 (D.C. Cir. 2014) (“[A]n agency is not free to ignore or violate its regulations while

they remain in effect,” and “an agency action may be set aside as arbitrary and capricious if the

agency fails to comply with its own regulations.”) (quotation marks omitted).

        61.     Third, the 2021 NBPP’s approval of copay accumulator programs is arbitrary and

capricious for myriad reasons.

        62.     Perhaps most obviously, the agencies’ bizarre decision to interpret the regulatory

definition of cost-sharing to simultaneously mean two different things—that is, to both include

and simultaneously exclude funds provided by manufacturers for the benefit of insured individuals

(see 2021 NBPP, 85 Fed. Reg. at 29,234)—is contrary both to fundamental principles of

interpretation and to the rule of law itself. See, e.g., Clark v. Martinez, 543 U.S. 371, 386 (2005)

(rejecting “the dangerous principle that . . . the same statutory text” can be given “different

meanings in different cases.”). What is more, leaving the decision up to the insurers themselves is,

by definition, arbitrary.

        63.     The agencies’ policy reasoning also fails the APA’s requirement that the agency
“articulate a satisfactory explanation for its action including a rational connection between the

facts found and the choice made.” Motor Vehicles Mfrs. Ass’n of U.S. Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). The sole reason the agencies gave in the 2021 NBPP for

expanding their approval of copay accumulators beyond situations in which generic alternatives

are available was that the prior rule allegedly conflicted with certain provisions of the tax code and

IRS guidance. See 2021 NBPP, 85 Fed. Reg. at 29,231. But this argument fails for many reasons.

        64.     To start with, as many commenters explained to the agency during the notice and

comment process, that supposed legal conflict was illusory. See generally id. at 29,233 (discussing

comments). The straightforward text of the relevant statute, 26 U.S.C. § 223, makes plain that

allowing manufacturer cost-sharing assistance to count toward a high deductible health plan’s


                                                 18
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 19 of 24




deductible does not disqualify the participant (or the participant’s employer) from contributing to

a health savings account. Section 223 contains no restriction on who pays the deductible, and such

an understanding would be contrary to the plain and ordinary meaning of the language used in the

statute. The contrary conclusion in the 2021 NBPP is thus straightforward legal error, and it is

black-letter law that agency action “cannot be sustained where it is based … on an erroneous view

of the law.” Sea-Land Serv., Inc. v. Dep’t of Transp., 137 F.3d 640, 646 (D.C. Cir. 1998) (quotation

marks omitted).

       65.     More, the IRS guidance at issue is neither a statute nor a regulation, and thus it

cannot be a basis to overcome the ACA. At issue here is Q&A 9 of IRS Notice 2004-50—which

is merely regulatory guidance. If there were any conflict between the ACA and earlier IRS statutes

(to be clear, there is not), the specific mandates in the ACA would govern over predecessor laws.

       66.     Yet more, the discount cards discussed by Q&A 9 of the IRS Notice 2004-50 are

materially different than the manufacturer assistance that is at issue here. The manufacturer

assistance at issue here results in the same payments being made to the pharmacist. By contrast,

the issue discussed by the IRS guidance addresses a discount card that changes the rates the

pharmacist charges the patient, resulting a pharmacist receiving less compensation for the drug.

The issue in the IRS notice is thus a different one entirely from that present here.
       67.     Further, the agencies inexplicably failed to consider alternative courses of action

that would have been compatible even with their erroneous view of the IRS guidance, short of

allowing copay accumulators in all circumstances. Because, as commentators robustly

underscored, the agencies had options far short of blanket authorization of copay accumulators,

the reasoning here—even if credited—cannot supply a non-arbitrary basis for the action. The 2021

NBPP is arbitrary and capricious for this reason, as well. See, e.g., Dist. Hosp. Partners, L.P. v.

Burwell, 786 F.3d 46, 59 (D.C. Cir. 2015) (“Nor do we uphold agency action if it fails to consider

significant and viable and obvious alternatives.”) (quotation marks omitted).

       68.     Similarly, the agencies appear to have abandoned, without discussion, their earlier

finding that copay accumulators are only justified “when a less expensive and equally effective


                                                 19
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 20 of 24




generic is available,” because in the absence of a medically appropriate generic or otherwise lower-

cost drug, “the use of the manufacturer coupon would not disincentivize a less expensive choice”

and therefore would not cause the supposed market distortions that formed the entire basis for

allowing copay accumulators in the first place. 2020 NBPP, 84 Fed. Reg. at 17,545. Such an

unexplained departure from past findings is arbitrary and capricious. See, e.g., FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009) (requiring a “detailed justification” when an

agency’s “new policy rests upon factual findings that contradict those which underly its prior

policy.”).

       69.       What is more, the agency’s change in position disregarded the legitimate reliance

interests of patients who may have started on chronic medications with the help of manufacturer

copay assistance, only to be undercut by the agencies’ approval of copay accumulators even where

no generic alternative is available. This, too, was arbitrary and capricious. See, e.g. DHS v. Regents

of Univ. of Cal., 140 S. Ct. 1891, 1913 (2020) (“When an agency changes course,” its “fail[ure] to

address whether there was ‘legitimate reliance’ on the [prior policy] . . . would be arbitrary and

capricious.”).

       70.       Relatedly, the only explanation the agencies gave in response to comments

demonstrating that their proposed expansion of copay accumulators would increase out-of-pocket
costs to patients was essentially that the agencies did not believe insurers would actually apply

accumulators in the absence of a generic alternative: “[W]e believe the impact of such [out-of-

pocket] costs may be limited if issuers that currently allow these amounts [that is, amounts

provided through manufacturer assistance] to be counted toward enrollees’ deductibles or their

annual limitation on cost sharing continue their current behavior, which we believe will be the

case.” 2021 NBPP, 85 Fed. Reg. at 29,232; see also id. (“We do not expect any significant

increases in patient costs or non-adherence to medications if issuers choose to continue their

current behavior” of not employing copay accumulators in the absence of generic alternatives.).

       71.       That is, the agencies’ sole justification for why their action would not result in

increased costs to patients was a naked assumption that profit-motivated insurance companies


                                                 20
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 21 of 24




(many of which are publicly traded) would voluntarily forgo a mechanism to increase their profits.

That unsupported assumption is flatly irrational, and a rule based upon it therefore cannot stand.

Cf., e.g., WildEarth Guardians v. U.S. Bureau of Land Mgmt., 870 F.3d 1222, 1236 (10th Cir.

2017) (holding an agency action based on an economic assumption “arbitrary and capricious

because the assumption itself is irrational (i.e., contrary to basic supply and demand principles)”).

And unsurprisingly, the agencies’ economically irrational assumption has turned out to be wrong

in practice, with more insurance plans instituting copay accumulators than ever. 13

       72.      Indeed, commenters pointed out that some plans had already adopted new copay

accumulators in response to HHS’s 2019 non-enforcement guidance 14—but the agencies
completely failed to respond. That failure forms yet another independent basis to set aside the 2021

NBPP. See, e.g., City of Columbus v. Cochran, 523 F. Supp. 3d 731, 745-746 (D. Md. 2021) (“An

agency also violates the APA if it fails to respond to significant points and consider all relevant

factors raised by the public comments.”) (quotation marks omitted) (collecting cases). For this

reason, too, the agencies’ rule cannot stand.

                                     CLAIMS FOR RELIEF

                                          Count I
                     Administrative Procedure Act – conflict with statute
       73.      Plaintiffs incorporate and re-allege the foregoing paragraphs as though fully set

forth herein.




13
    For example, a 2021 Kaiser Family Foundation survey found that 24% of medium and large
employers utilized copay accumulators in the health plans offered to their employees. See KFF,
Employer Health Benefits: 2021 Annual Survey 189-191 & fig. 13.19. The true number of
employers using copay accumulators is likely much higher, as more than 60% of the respondent
firms did not know whether their plans used a copay accumulator or not. Id.
14
    See   Comment       from   All   Copays   Count    Coalition              (Mar.     2,    2020),
https://www.regulations.gov/comment/CMS-2020-0009-0877.


                                                 21
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 22 of 24




       74.      The APA empowers courts to “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

       75.      It likewise authorizes courts to set aside agency action “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C).

       76.      The 2021 NBPP violates these APA requirements. It conflicts with the provisions

of the Affordable Care Act and is therefore in excess of statutory authority and not in accordance

with law. See, e.g., Decker v. Nw. Envtl. Def. Ctr., 568 U.S. 597, 609 (2013) (“It is a basic tenet

that ‘regulations, in order to be valid, must be consistent with the statute under which they are

promulgated.’”).

       77.      The 2021 NBPP must therefore be set aside. 5 U.S.C. § 706(2).

                                          Count II
                Administrative Procedure Act – conflict with existing regulations
       78.      Plaintiffs incorporate and re-allege the foregoing paragraphs as though fully set

forth herein.

       79.      The APA empowers courts to “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). Under this standard, “[a]n agency of the government

must scrupulously observe rules, regulations, or procedures which it has established,” and “[w]hen

it fails to do so, its action cannot stand and courts will strike it down.” Chen Zhou Chai v. Carroll,

48 F.3d 1331, 1340 (4th Cir. 1995) (quotation marks omitted).

       80.      The 2021 NBPP is unlawful because it conflicts with HHS’s and CMS’s existing

regulations, thus abdicating the agencies’ responsibility “to comply with [their] own regulations”

“while they remain in effect. Nat’l Envt’l Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999,

1009 (D.C. Cir. 2014).

       81.      The 2021 NBPP must therefore be set aside. 5 U.S.C. § 706(2).




                                                 22
         Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 23 of 24




                                         Count III
                   Administrative Procedure Act – arbitrary and capricious
       82.      Plaintiffs incorporate and re-allege the foregoing paragraphs as though fully set

forth herein.

       83.      The APA empowers courts to “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

       84.      The 2021 NBPP fails under the arbitrary and capricious standard in myriad ways:

It fails to “articulate . . . a ‘rational connection between the facts found and the choice made,’” it

“fail[s] to consider . . . important aspect[s] of the problem,” and it “offer[s] an explanation for its

decision that runs counter to the evidence before the agency.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). It also “misconceive[s] the law”

and therefore “may not stand” (SEC v. Chenery Corp., 318 U.S. 80, 94 (1943)) and reverses course

without adequate explanation or consideration of reliance interests (see DHS v. Regents of Univ.

of Cal., 140 S. Ct. 1891, 1913 (2020)).

       85.      For all these reasons, too, the 2021 NBPP must be set aside. 5 U.S.C. § 706(2).

                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs HIV and Hepatitis Policy Institute, Diabetes Patient Advocacy

Coalition, and Diabetes Leadership Council respectfully request that the Court enter judgment in

their favor and that the Court:

       (a.)     “[S]et aside” the 2021 NBPP to the extent it amends 42 C.F.R. § 156.130(h) to

                permit copay accumulator programs, pursuant to the Administrative Procedure Act,

                see 5 U.S.C. § 706(2);

       (b.)     Issue a declaratory judgment declaring that the 2021 NBPP is unlawful and void

                the 2021 NBPP to the extent it amends 42 C.F.R. § 156.130(h) to permit copay

                accumulator programs;




                                                  23
        Case 1:22-cv-02604-JDB Document 1 Filed 08/30/22 Page 24 of 24




      (c.)   Enjoin Defendants from enforcing or otherwise carrying out the 2021 NBPP’s

             approval of copay accumulator programs; and

      (d.)   Award Plaintiffs such other and further relief as the Court may deem just and

             proper.

Dated: August 30, 2022                      Respectfully submitted,

                                            /s/ Paul W. Hughes

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                                           24
